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JSG/cv                                 Code No. 141                                   5574-24804

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LISA SCANDORA,                               )
                              Plaintiff,     )
                                             )
         vs.                                 )        05 C 1206
                                             )
VILLAGE OF MELROSE PARK, and                 )        Judge Matthew Kennelly
VITO R. SCAVO, Individually,                 )
                                             )
                              Defendants.    )

                                   OFFER OF JUDGMENT

         NOW COME the defendants, VILLAGE OF MELROSE PARK and VITO SCAVO, by

and through their attorneys, Dowd & Dowd, Ltd., and pursuant to F.R.C.P. 68 offers to have

judgment taken against it in the amount of $60,000.00, said amount to include attorneys’ fees

and costs and is directed to all counts of the plaintiffs’ complaint and is intended to resolve and

adjudicate all claims and causes of action, if any, the plaintiffs have against VILLAGE OF

MELROSE PARK and VITO SCAVO.

                                             Respectfully submitted,

                                             DOWD & DOWD, LTD.

                                             /s/ Patrick J. Ruberry
                                             Attorneys for Defendants
                                             VILLAGE MELROSE PARK
                                             and VITO SCAVO

Patrick J. Ruberry
Dowd & Dowd, Ltd.
617 W. Fulton Street
Chicago, IL 60661
Tx: 312/704-4400
Fx: 312/704-4500
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                                    CERTIFICATE OF SERVICE

       I, Patrick J. Ruberry, an attorney, state that the notice of filing Defendants’ Offer of

Judgment was served electronically to all law firms of record via ECF on May 17, 2007.



                                           By:     /s/ Patrick J. Ruberry  ________
                                                   Attorney for Defendants

Patrick J. Ruberry
Dowd & Dowd, Ltd.
617 W. Fulton Street
Chicago, IL 60661
Tx: 312/704-4400
Fx: 312/704-4500
